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                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


                  UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                       WESTERN DIVISION
CIARA SHANTEE WINCKLER,                    )
                                           )
       Petitioner,                         )
                                           )
v.                                         )   Case No. 7:19-cv-01530-KOB-SGC
                                           )
PATRICIA V. BRADLEY,                       )
                                           )
       Respondent.                         )

                          MEMORANDUM OPINION
      The magistrate judge entered a report on January 25, 2022, recommending the

petition for a writ of habeas corpus brought pursuant to 28 U.S.C. § 2241 by Ciara

Shantee Winckler be dismissed for failure to exhaust administrative remedies. (Doc.

12). Although advised of their right to file specific written objections within

fourteen calendar days, the parties have not submitted objections, or any other

response, within the time allowed.

      After careful consideration of the record in this case and the magistrate judge’s

report, the court ADOPTS the report and ACCEPTS the recommendation. In

accordance with the recommendation, the court finds that the petition is due to be

dismissed for failure to exhaust administrative remedies.

      The court will enter a separate Final Order.
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DONE and ORDERED this 8th day of March, 2022.




                             ____________________________________
                             KARON OWEN BOWDRE
                             UNITED STATES DISTRICT JUDGE
